                  Case 2:15-cr-01515-RB Document 450-14 Filed 06/15/18 Page 1 of 1


                                                                              Linesheet                                                       User:       Janett Rios



 Case:        MS-14-0093                      Target:   5759565668-010115                Line:   575956566&010115              File Number:



Synopsis
 tuO: l'M SORRY THE PERSON YOU ARE TRYING TO REACH HAS A VOICEIVIAIL BOX THAT HAS
 NOT BEEN SET UP YET, PLEASE TRY YOUR CALL AGAIN LATER. GOOD BYE.
 RG




Session:                    1112                   Date:                    0111612015           Classification:   Non-Pertinent Duration:          00:00:32
Monitored         By:      rubyg                      Time:
                                                   Start                    19:32:41 MST         Complete:         Not Completed Direction:         lncoming
ln   Digits:                5755742491             Asscociate Number: (575) 574-2491             Participants:     PADILLA,TOBY
                                                                                                                   TT3 DANIEL JACQUEZ AKA DAN/DANNY


Synopsis
 tuO: l'M SORRY THE PERSON YOU ARE TRYING TO REACH HAS A VOICEIVIAIL BOX THAT HAS
 NOT BEEN SET UP YET, PLEASE TRY YOUR CALL AGAIN LATER. GOOD BYE.
 RG




Session:                    11   13                Date:                    01116t2415           Classification: Pertinent            Duration:     00:01:05
Monitored         By:      rubyg                   Start Time:              19:34:09 MST         Complete:         Completed          Direction:    None
                                                   Asscociate Number:                            Participants:     PADILLA,TOBY



Synopsis
 IX-REFERENCE WITH C-149s ON TT-31
 lNo CoNTACT rD/NO DTRECT
 TOBY TO DAN
 DAN INSTRUCTED TOBY OVER TO DAN'S MOTHER-IN-LAWS AND TOBY ACKNOWLEDGED. DAN
 sAtD rT [NFt]WAS THAT FOUR ptECE TOO. TOBY ACKNOWLEDGED AND THANKED DAN. TOBY
 ASKED DAN HOW MUCH THAT [NFI]WAS FOR AND IF THE SAME.
 DAN NOTIFIED TOBY THAT DAN ALREADY TALKED TO THE HOMIE [NFI] AND THAT IT WAS
 GONNA BE ALL GOOD tF THEY (DAN ET AL) COULD GET RtD OF THAT [NFt] OU|CK LrKE BY
 SUNDAY OR MONDAY. TOBY ACKNOWLEDGED. DAN ADDED THAT HE [UNK]WAS GOING TO
 DOUBLE IT NEXT TIME. TOBY ACKNOWLEDGED. DAN STATED THAT THEY [UNK]ARE TRYING TO
 WORK ON THAT NOW THAT THEY IUNK]ARE BACK FROM VACATION. DAN SAID IT WAS ALL
 GOOD. DAN REITERATED THAT HE [UNK] SAID THAT IF DAN AND TOBY COULD GET RID OF THAT
 ONE [NFI] REAL QUICK AND THEN BY SUNDAY OR MONDAY IF DAN AND TOBY WERE BOTH
 READY HE [UNK]WOULD SEND DOUBLE NEXT TItUE. TOBY ACKNOWLEDGED AND SAID TOBY
 WOULD DO THAT THEN. DAN SAID IT WAS ALL GOOD IT'S RIGHT NOW, TOBY ACKNOWLEDGED
 AND SA|D TOBY WOULD SEND Hrrvr (FREDDY) RTGHT NOW. PARTTES SAtD BYES.
 IEND OF CALLI



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                                                                                     U.S. v. Jacquez et al. (linesheetg) 2533
07 I 1 6120   1   5   1   2:0   1   :24 MDr                                                                                                        383 of 66'l
